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MANDATE                                                                                    S.D.N.Y.–N.Y.C.
                                                                                                  05-cr-517
                                                                                                 11-cv-247
                                                                                                 Kaplan, J.



                             United States Court of Appeals
                                                  FOR THE
                                           SECOND CIRCUIT
                                           _________________

                   At a stated term of the United States Court of Appeals for the Second
     Circuit, held at the Thurgood Marshall United States Courthouse, 40 Foley Square,
     in the City of New York, on the 24th day of August, two thousand twenty-one.

     Present:
                    Reena Raggi,
                    Gerard E. Lynch,
                    Michael H. Park,
                          Circuit Judges.                                                        Oct 18 2021



     Manuel Felipe Salazar-Espinosa,

                                   Petitioner,

                    v.                                                           21-1497

     United States of America,

                                   Respondent.


     Petitioner moves for leave to file a successive 28 U.S.C. § 2255 motion and for an extension of
     time to file the present motion. Upon due consideration, it is hereby ORDERED that the request
     for an extension of time is GRANTED, but the motion for leave to file a successive § 2255 motion
     is DENIED.

     As an initial matter, Petitioner relies on a 2017 declaration from Andres Cajiao Barberena but does
     not explain when he obtained the declaration or why it should be considered newly discovered
     evidence. See Herrera-Gomez v. United States, 755 F.3d 142, 147 (2d Cir. 2014) (holding that
     prisoners seeking leave to file a successive § 2255 motion must act with “‘due diligence’ in
     investigating and presenting their claims based on newly discovered evidence”).

     However, even if we assume Petitioner exercised due diligence in obtaining the declaration, he
     still has not made a prima facie showing that the requirements of § 2255(h) are satisfied. First,




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the declaration does not appear to be relevant to his Fourth or Fifth Amendment claims, or his
claims concerning his sentence. Second, regarding Petitioner’s claim that counsel was ineffective
for failing to present the new evidence to the trial court, Petitioner does not mention his counsel’s
unsuccessful pretrial motion to depose Barberena or identify any additional steps counsel could
have taken regarding that potential evidence.

Third, even if the declaration is deemed relevant to all of Petitioner’s challenges to his conviction,
he has not made a showing that the evidence discussed in his motion, “if proven and viewed in
light of the evidence as a whole, would be sufficient to establish by clear and convincing evidence
that no reasonable factfinder would have found [him] guilty.” 28 U.S.C. § 2255(h)(1). He does
not provide a trial transcript or describe the inculpatory evidence presented at his trial, and does
not explain why Barberena should be found more credible than the Government’s witnesses and
other evidence. Moreover, even if Barberena is credible, his declaration does not meet the
standard set by § 2255(h)(1), because it primarily focuses on whether Petitioner was the leader of
the drug conspiracy, and does not address whether Petitioner knew that the narcotics involved in
that conspiracy (in which Petitioner admitted participating) were destined for the United States,
the principal issue contested by Petitioner at trial.

                                               FOR THE COURT:
                                               Catherine O’Hagan Wolfe, Clerk of Court




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